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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

SOUTI-]ERN DIVISION
UNITED STATES OF AMERICA
Case No. 16-20810
v.
~ Honorable George Caram Steeh
TAKATA CORPORATION,
Defendant.

CONSENT ORDER AND JUDGMENT OF FORFEITURE .

The parties, through counsel hereby submit this Consent Order and Judgment
of Forfeiture to the Court and stipulate and agree to the following:

The First Superseding information charges Defendant With wire fraud in
violation of 18 U.S.C. § 1343. The First Superseding Information also contains a
Forfeiture Allegation. The Forfeiture Allegation provides that upon conviction,
Defendant shall forfeit to the United States, all proceeds, direct or indirect, or property
traceable thereto, all property that facilitated the commission of the violations alleged,
or property traceable thereto, and all property involved in,_ or property traceable
thereto, of the Violations set forth in this First Superseding Information.

On February 27, 2017, Defendant entered into a Rule 11 Plea Agreement in
Which it pleaded guilty to Count One of the First Superseding Information. In the Rule

11 Plea Agreement and pursuant to 18 U.S.C. § 981(a)(1)(C)-and 28 U.S.C. § 2461,

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Defendant agreed to imposition of a forfeiture money judgment in the amount of One
Hundred Fifty Million Dollars (8150,000,000.00) in U.S. Currency.

The parties agree that if Defendant complies with Paragraphs 3(B) and
3(E)(2)(i) as stated in the Rule 11 Plea Agreement, incorporated by reference, within
thirty days of` the entry of guilty plea, this money judgment will be considered satisfied
in full.

Accordingly, based on the First Superseding Information, the Rule 11 Plea
Agreement, and the record in this case, and pursuant to 18 U.S.C. § 981(a)(1)(C), 28
U.S.C. § 2461, and Rule 32.2 of the Federal Rules of Criminal Procedure:

IT IS HEREBY ORDERED that a money judgment in the total amount of One
Hundred Fifcy Million Dollars ($150,000,000.00) in U.S. Currency is entered against
Defendant in favor of the United States of America. To satisfy the money judgment,
any assets that Defendant has, or may later acquire, may be forfeited as substitute
assets pursuant to 21 U.S.C. § 853(p). The forfeiture money judgment shall be reduced
by the amount of funds ultimately forfeited to the-United States.

However, IT IS ORDERED that if the Defendant fully complies with its
obligations under Paragraphs 3(B) and 3(E)(2)(i) as stated in the 7 Rule 11 Plea
Agreement, incorporated by .reference, within thirty days after entry of the plea in this

cas_e, this money judgment will be considered satisfied in hill.

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IT IS FURTHER ORDERED that the Court shall retain jurisdiction in this
case for the purpose of enforcing this Order and that pursuant to Rule 32.2(b)(3), this
Order of Forfeiture shall become final as to the Defendant at the time of sentencing
and shall be made part of the sentence and included in the Judgment; and

Agreed as to form and substance:

IT IS SO ORDERED.

Dated: l-aw~l? /\`“A`~" !“"~ P

HONO LE GEORGE CARAM sTEEH
Unite States District Judge

 

Subrnitted by:

BARBARA L. MCQUADE
United States Attorney
Eastern District of Michigan

§¢j/////

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Consented to:

 

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